   2:18-mn-02873-RMG        Date Filed 05/17/24   Entry Number 5003      Page 1 of 13



                               IN THE UNITED STATES
                              DISTRICT COURT FOR THE
                            DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING FOAMS                      )   Master Docket No.:
PRODUCTS LIABILITY LITIGATION                          )   2:18-mn-2873-RMG


                                                       )
CITY OF CAMDEN, et al.,                                )   Civil Action No.:
                                                       )
              Plaintiffs,                              )   2:24-cv-02321-RMG
                                                       )
-vs-                                                   )
                                                       )
TYCO FIRE PRODUCTS LP, individually and as             )
successor in interest to The Ansul Company, and        )
CHEMGUARD, INC.,                                       )

              Defendants.


       PLAINTIFFS’ REPLY TO DEFENDANTS CHEMICALS INCORPORATED AND
                  DEEPWATER CHEMICALS, INC.’S RESPONSE TO
           PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF THE
            TYCO PUBLIC WATER SYSTEM CLASS ACTION SETTLEMENT
  2:18-mn-02873-RMG       Date Filed 05/17/24   Entry Number 5003      Page 2 of 13



                               TABLE OF CONTENTS



INTRODUCTION…………………………………………………………………………………….1

ARGUMENT…………………………………………………………………………………….…….3

 A. Opponents Lack Standing to Object……………………………………………………….…3

 B. Clarification of the Settlement Agreement is Unnecessary as Opponents’ Status as Non-
    Released Parties is Unambiguous……………………………………………………….…….4

       1. The Parties to the Settlement Never Intended to Release Opponents………………4

       2. Opponents’ Request that the Agreement be Amended to Include All Tollers is
          Without Legal or Factual Support……………………………………………………5

 C. Opponents’ Objection to the Settlement Should be Rejected………………………………6

       1. The Indemnity and Contribution Provisions do not Unduly Impinge on Opponents’
          Rights…………………………………………………………………………………..6

       2. The Set-Off Method Will Be Determined Under Applicable Law………………….7

CONCLUSION………………………………………………………………………………………..8




                                          ii
     2:18-mn-02873-RMG          Date Filed 05/17/24     Entry Number 5003       Page 3 of 13



                                   TABLE OF AUTHORITIES

CASES

Agretti v. ANR Freight Sys., Inc., 982 F.2d 242 (7th Cir. 1992)……………………………………………. 3

Bragg v. Robertson, 54 F. Supp. 2d 653 (S.D.W. Va. 1999)………………………………...…………4

Caudle v. Sprint/United Management Co., 2019 WL 2716291 (N.D. Cal., 2019)………………………….7

City of Rock Hill v. Harris, 391 S.C. 149, 705 S.E.2d 53 (2011)………………………………………5

Gould v. Alleco, Inc., 883 F.2d 281 (4th Cir. 1989)……………………………………………………4

Holman v. Greyhound Lines, Inc., No. CV 21-112-BAH, 2022 WL 1720152 (D. Md. May 27,
   2022)…………………………………….…………………………………………………………3

In re Aqueous Film-Forming Foams Prods. Liab. Litig., No. 18-2873, 2024 WL 489326 (D.S.C. Feb.
    8, 2024)……..……………………………………………………………………………………7, 8

In re: Mi Windows & Doors Inc. Prod. Liab. Litig., No. 2:12-MN-00001-DCN, 2015 WL 12850547
    (D.S.C. July 22, 2015)……………………………………………………………………………...4

In re Mid-Atl. Toyota Antitrust Litig., 564 F. Supp. 1379 (D. Md. 1983)………………………………….. 3

In re Prudential Ins. Co. of Am. Sales Practice Litig., 261 F.3d 355 (3d Cir. 2001)…………...…………..7

Laser Supply & Servs., Inc. v. Orchard Park Assocs., 382 S.C. 326, 676 S.E.2d 139 (Ct. App. 2009)……4

Miles v. Miles, 393 S.C. 111, 711 S.E.2d 880 (2011)………………………………………………………. 4

N. Am. Rescue Prods., Inc. v. Richardson, 411 S.C. 371, 769 S.E.2d 237 (2015)……………………..4

Rieckborn v. Velti PLC, 2015 WL 468329 (N.D. Cal., 2015)………………………………………………7

Rodarte v. Univ. of S.C., 419 S.C. 592, 799 S.E.2d 912 (2017)………………………………………..4

State v. Bolin, 378 S.C. 96, 662 S.E.2d 38 (2008)……………………………………………………...5

Stevens & Wilkinson of S.C., Inc. v. City of Columbia, 409 S.C. 568, 762 S.E.2d 696 (2014)………...4




                                                 iii
    2:18-mn-02873-RMG          Date Filed 05/17/24       Entry Number 5003           Page 4 of 13




                                           INTRODUCTION

       Chemicals Incorporated and Deepwater Chemicals, Inc. (collectively, the “Opponents”) 1

are two non-settling defendants in the AFFF MDL who are neither parties to the Class Action

Settlement Agreement between Tyco Fire Products LP (“Tyco”) and Public Water Systems

(“PWS”), nor members of the proposed Settlement Class. On May 10, 2024, Opponents filed a

response to Plaintiffs, City of Camden, California Water Service Company, City of Benwood, City

of Brockton, City of Delray Beach, City of Freeport, City of Sioux Falls, Coraopolis Water &

Sewer Authority, Dalton Farms Water System, Martinsburg Municipal Authority, South Shore,

Township of Verona, and Village of Bridgeport’s Motion, by and through proposed Class Counsel,

for Preliminary Approval of Class Settlement, for Certification of Settlement Class and for

Permission to Disseminate Class Notice (“Preliminary Approval Motion”) (ECF No. 4911).

Despite their non-party status, Opponents incorrectly assert they have standing to oppose the

settlement. They also purport to seek clarification that the Tyco Settlement Agreement includes

them as a “Released Party” or, in the alternative, they object to such Settlement.

       The Settlement Agreement, however, is not ambiguous. It is clear on its face that

Opponents are not Released Parties, and therefore no further clarification is necessary. The

definition of “Released Party” is plain:

                      2.54. “Released Parties” or “Tyco” means Tyco Fire
               Products LP and its respective past, present, or future administrators,
               advisors, affiliated business entities, affiliates, agents, assigns,
               attorneys, constituent corporation or entity (including constituent of
               a constituent) absorbed by Tyco in a consolidation or merger,
1
  While Chemicals Incorporated and Deepwater Chemicals, Inc., refer to themselves as Tolling
Defendants, proposed Class Counsel note that there are multiple defendants within the MDL which
equally meet the description of being “Tolling Defendants.” None of these other entities have
objected to the Tyco Settlement or have joined in Chemicals Incorporated and Deepwater
Chemicals, Inc.’s Response Seeking Clarification of the Settlement Agreement Proposed in
Plaintiffs’ Motion for Preliminary Approval of Class Settlement, or, in the Alternative, Objecting
to Such Settlement (“Opposition”) (ECF No. 4974).


                                                 1
     2:18-mn-02873-RMG          Date Filed 05/17/24       Entry Number 5003          Page 5 of 13




                counsel, directors, divisions, employee benefit plans, employee
                benefit plan participants or beneficiaries, employees, executors,
                heirs, insurers, managers, members, officers, owners, parents,
                partners, partnerships, predecessors, principals, resulting
                corporation or entity, servants, shareholders, subrogees,
                subsidiaries, successors, trustees, trusts, and any other
                representatives, individually or in their corporate or personal
                capacity, and anyone acting on their behalf, including in a
                representative or derivative capacity, including without limitation
                Chemguard, Inc., WillFire HC, LLC (d/b/a Williams Fire and
                Hazard Control), Johnson Controls International plc, Johnson
                Controls, Inc., Johnson Controls Fire Protection, LP, Central
                Sprinkler LLC, Tyco International Management Company, LLC,
                Tyco Fire & Security US Holdings LLC, Tyco Fire and Security
                (US) Management, LLC, Johnson Controls US Holdings LLC, JIH
                S.à.r.l., Johnson Controls Luxembourg European Finance S.à.r.l.,
                Tyco International Finance S.A., Tyco International Holding S.à.r.l.,
                Tyco Fire & Security S.à.r.l., Tyco Fire & Security Finance S.C.A.,
                and Fire Products GP Holding, LLC. It is the intention of this
                Agreement that the definition of “Released Parties” or “Tyco” be as
                broad, expansive, and inclusive as possible.

                                 2.54.1. Solely for the purposes of this Settlement
                        Agreement, Released Parties shall also include ChemDesign
                        Products, Inc. (“ChemDesign”) and its respective past,
                        present, or future administrators, advisors, affiliated
                        business entities, affiliates, agents, assigns, attorneys,
                        constituent corporation or entity (including constituent of a
                        constituent) absorbed by ChemDesign in a consolidation or
                        merger, counsel, directors, divisions, employee benefit
                        plans, employee benefit plan participants or beneficiaries,
                        employees, executors, heirs, insurers, managers, members,
                        officers, owners, parents, partners, partnerships,
                        predecessors, principals, resulting corporation or entity,
                        servants, shareholders, subrogees, subsidiaries, successors,
                        trustees, trusts, and any other representatives, individually or
                        in their corporate or personal capacity, and anyone acting on
                        their behalf, including in a representative or derivative
                        capacity, provided however, that the Release and the
                        Released Claims apply to ChemDesign only to the extent a
                        Claim against ChemDesign arises out of or relates in any
                        way to ChemDesign’s work with or for Tyco. 2

         Only Tyco and its related entities (as expressly defined) are Released Parties. This includes


2
    Settlement Agreement § 2.54 (emphasis added).


                                                   2
    2:18-mn-02873-RMG          Date Filed 05/17/24      Entry Number 5003         Page 6 of 13




“anyone acting on their behalf, including in a representative or derivative capacity,” which

provision Opponents wrongly contend that, as tollers, they “should each be included” 3 despite

them professing to be “remote to the AFFF process.” 4 In contrast, ChemDesign is expressly

identified as a Released Party because of its “work with or for Tyco,” 5 while Opponents are not

mentioned at all.

       Finally, the claims bar and contribution and indemnity provisions to which Opponents

object are standard fare in any settlement of complex litigation wherein certain defendants settle

before others do. Therefore, Opponents’ objection should be overruled, and Plaintiffs respectfully

request that assessment of their Preliminary Approval Motion proceed, and ultimately be granted.

                                          ARGUMENT

           A. Opponents Lack Standing to Object

       Opponents are not putative Settlement Class Members, and therefore lack standing to

object to Plaintiffs’ Motion for Preliminary Approval.6 Nor are they parties to the Tyco Settlement.

Rather, they are defendants in the AFFF MDL who have yet to settle claims against them. Simply

put, this matter does not include nor involve them, and any claimed interest they profess to is

insufficient to confer upon Opponents standing to object to the Settlement.

       This Court has itself previously held that non-settling parties do not have standing to

challenge a class settlement unless the agreement results in “plain legal prejudice” to the non-



3
  Opponents’ Response at 9.
4
  Opponents’ Response at 7.
5
  Settlement Agreement § 2.54.1.
6
  “The general rule, of course, is that a non-settling party does not have standing to object to a
settlement between other parties.” Holman v. Greyhound Lines, Inc., No. CV 21-112-BAH, 2022
WL 1720152, at *5 (D. Md. May 27, 2022) (emphasis added) (quoting Agretti v. ANR Freight
Sys., Inc., 982 F.2d 242, 246 (7th Cir. 1992)). “[N]on-settling defendants have standing only when
the settlement would alter their formal, legal rights.” Id. (citing In re Mid-Atl. Toyota Antitrust
Litig., 564 F. Supp. 1379, 1387 (D. Md. 1983)).


                                                 3
    2:18-mn-02873-RMG          Date Filed 05/17/24       Entry Number 5003        Page 7 of 13




settling party, which is simply not present here. 7 Specifically, this Court held: “Because they are

not class members, and have failed to show plain legal prejudice, the [objectors] do not have

standing to object, and the Court declines to consider their objections.” 8

       B. Clarification of the Settlement Agreement is Unnecessary as Opponents’
          Status as Non-Released Parties is Unambiguous

           1. The Parties to the Settlement Never Intended to Release Opponents

       As described above, Opponents are not Released Parties under the Tyco PWS Settlement

Agreement. Moreover, the actual parties to that Agreement—Tyco, as defined therein, and

Plaintiffs, by and through proposed Class Counsel—never intended to release Opponents and so,

on the basis of controlling principles of contract law, 9 there was no meeting of the minds nor any

mutual agreement at any time that Opponents were intended to be Released Parties.

       Additional basic principles of contract interpretation support the presumption that

Opponents—who are not mentioned once, and certainly never identified by name in the Agreement

⸺were not contemplated to be Released Parties by either Tyco or Plaintiffs. 10 Neither settling



7
  3M Preliminary Approval Order, ECF No. 3626 at 8 (citing In re: Mi Windows & Doors Inc.
Prod. Liab. Litig., No. 2:12-MN-00001-DCN, 2015 WL 12850547, at *10 (D.S.C. July 22, 2015),
aff'd, 860 F.3d 218 (4th Cir. 2017); Gould v. Alleco, Inc., 883 F.2d 281, 284 (4th Cir. 1989); Bragg
v. Robertson, 54 F. Supp.2d 653, 664 (S.D.W. Va. 1999)).
8
  Id.
9
  South Carolina provides the governing law of the Settlement Agreement. Settlement Agreement
§13.16. On the issue of contract interpretation, Rodarte v. Univ. of S.C., 419 S.C. 592, 603, 799
S.E.2d 912, 917–18 (2017), spells out controlling South Carolina law: “‘Where an agreement is
clear on its face and unambiguous, the court’s only function is to interpret its lawful meaning and
the intent of the parties as found within the agreement.’” Stevens & Wilkinson of S.C., Inc. v. City
of Columbia, 409 S.C. 568, 577, 762 S.E.2d 696, 700 (2014) (emphasis added) (quoting Miles v.
Miles, 393 S.C. 111, 117, 711 S.E.2d 880, 883 (2011)). “‘Interpretation of a contract is governed
by the objective manifestation of the parties' assent at the time the contract was made, rather than
the subjective, after-the-fact meaning one party assigns to it.’” N. Am. Rescue Prods., Inc. v.
Richardson, 411 S.C. 371, 378, 769 S.E.2d 237, 241 (2015) (emphasis added) (quoting Laser
Supply & Servs., Inc. v. Orchard Park Assocs., 382 S.C. 326, 334, 676 S.E.2d 139, 143–44 (Ct.
App. 2009)).
10
   See Rodarte, supra.


                                                  4
     2:18-mn-02873-RMG          Date Filed 05/17/24       Entry Number 5003         Page 8 of 13




party had authority to negotiate on behalf of Opponents. Furthermore, Opponents paid no

consideration for what would be a bargain of considerable value to them (extinguishment of their

PFAS-related liability for contamination to Drinking Water, as such term is defined in the

Agreement).

        Lastly and most compellingly, the fact that the parties to the Tyco PWS Settlement

Agreement did expressly identify a toller defendant—ChemDesign—in the Released Parties

definition of their Agreement11 makes plain that any toller defendants intended to be included as a

Released Party were expressly identified.12 Opponents seem to acknowledge as much, stating that

because they are “similarly situated in various respects to ChemDesign, another toller, which is a

Released Party […] the Settlement Agreement should be revised to include each of the Tollers as

a Released Party.”13 While both ChemDesign and Opponents may have their tolling business in

common, they are very differently situated in one extremely crucial respect: ChemDesign was

intended to be included as a Released Party, while other tolling entities (by virtue of their omission)

were intended to be excluded.

           2. Opponents’ Request that the Agreement be Amended to Include All Tollers is
              Without Legal or Factual Support

        Opponents request that “the Settlement Agreement should be revised to include each of the

Tollers as a Released Party.”14 They cite no authority, however, in support of their misplaced

demand.

        Proposed Class Counsel have worked tirelessly since their appointment as Co-Lead


11
   Tyco PWS Settlement Agreement, ECF No. 4911-3 at § 2.54.1.
12
   South Carolina recognizes the principle of contract interpretation “‘expressio unius est exclusio
alterius,’i.e., to express or include one thing implies the exclusion of another.” State v. Bolin, 378
S.C. 96, 100, 662 S.E.2d 38, 40 (2008); City of Rock Hill v. Harris, 391 S.C. 149, 154, 705 S.E.2d
53, 55 (2011).
13
   Opposition, ECF No. 4974 at 10.
14
   Id.


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     2:18-mn-02873-RMG         Date Filed 05/17/24     Entry Number 5003         Page 9 of 13




Counsel for this MDL to fulfill their duties, including to resolve the water provider cases within

the MDL through mediation efforts that have now spanned over 3 years. Thus far, their efforts

have successfully secured three historic settlements—the 3M PWS Settlement and the DuPont

PWS Settlement, both of which have been granted Final Approval, as well as the instant Tyco

PWS Settlement now pending before the Court—for a total value of over $15 billion. These

settlements were the product of years of dizzyingly complex litigation, extremely hard-fought legal

battles, extensive and in-depth discovery, and protracted negotiations. 15 While Proposed Class

Counsel welcome further discussion with all non-settled MDL defendants, Opponents’ efforts to

resolve their liability remain wanting.

        C. Opponents’ Objection to the Settlement Should be Rejected

           1. The Indemnity and Contribution Provisions do not Unduly Impinge on
              Opponents’ Rights

        Opponents complain that the Tyco Settlement is prejudicial, and take issue with § 12.7.2

of the Agreement, which states that:

               The Order Granting Final Approval will specify that the Settlement is a
               good faith settlement that bars any Claim by any non-Released Party against
               any Released Party for contribution, for indemnification, or otherwise
               seeking to recover any amounts paid by or awarded against that non-
               Released Party and paid or awarded to any Releasing Party by way of
               settlement, judgment, or otherwise on any Claim that would be a Released
               Claim were such non-Released Party a Released Party (a “Claim-Over”), to
               the extent that a good-faith settlement (or release thereunder) has such an
               effect under applicable law.

        Like the DuPont and 3M PWS Settlements, the scope of the Tyco PWS Settlement release

was heavily negotiated, and the agreement the settling parties reached was to resolve all claims,

including those for contribution and indemnity. While the Settlement bars non-Released Parties’


15
  See generally Declarations of Michael A. London, Scott Summy and Gary J. Douglas in
Support of Class Counsel’s Motions for Attorneys’ Fees and Costs in DuPont and 3M PWS
Settlements, ECF Nos. 3795-6, 3795-7, 3795-8 and 4269-5, 4269-6 and 4269-7, respectively.


                                                6
  2:18-mn-02873-RMG           Date Filed 05/17/24      Entry Number 5003        Page 10 of 13




contribution and indemnity claims against Tyco, this is common in class settlements, and has been

sanctioned by this Court in both the 3M and DuPont PWS Settlements. See, e.g., In re Aqueous

Film-Forming Foams Prods. Liab. Litig., No. 18-2873, 2024 WL 489326, at *17 (D.S.C. Feb. 8,

2024) (“Such a release is common, however, in class action suits and objectors cite no case law

holding that such a provision precludes a Court from finding a settlement is fair, adequate, or

reasonable.”) (citing Caudle v. Sprint/United Management Co., 2019 WL 2716291, at *4 (N.D.

Cal., 2019) (emphasis added); Rieckborn v. Velti PLC, 2015 WL 468329, at *10 (N.D. Cal., 2015);

In re Prudential Ins. Co. of Am. Sales Practice Litig., 261 F.3d 355, 366 (3d Cir.2001).

       Such release does not render the Settlement unfair or unreasonable. All settlements will

necessarily involve give and take, and ultimately depend on the settling parties’ calculus of the

risks and benefits. Here, the Claim-Over language was one of many bargained-for terms, and is

far from unusual in the context of complex multi-party litigation. Indeed, it is axiomatic that all

settlements in which some defendants do not settle at the same time as other defendants could be

said to “impact” the contribution or indemnity rights of non-settling defendants. This extremely

common and hardly novel feature is not sufficient basis to delay a Settlement Agreement (that as

noted above is nearly identical on these issues as the prior two before it) affecting thousands of

Public Water Systems with known PFAS contamination in their Drinking Water.

       2. The Set-Off Method Will Be Determined Under Applicable Law

       Opponents fault the proposed Tyco PWS Settlement for not specifying a methodology for

settlement payment credits. Whether and to what degree a reduction in damages under a claims-

over provision may be permitted depends on whether the settlement involves federal or state law

claims. Similar language to the “under state law” utilized in the Tyco PWS Settlement Agreement,

§ 12.7.4, was previously objected to in the 3M and DuPont PWS Settlements, and overruled by




                                                7
     2:18-mn-02873-RMG         Date Filed 05/17/24      Entry Number 5003         Page 11 of 13




this Court:

                The Court rejects objections on this point. The Settlement
                Agreement provides at paragraph 12.7 for a set off and judgment
                reductions in subsequent actions against nonsettling defendants
                which would operate “under applicable law.” (Dkt. No. 4080-1 at
                115). The Fourth Circuit approved of similar language as it applied
                to state-law claims in Jiffy Lube. 927 F.2d at 160; In re Orthopedic
                Bone Screw Prod. Liab. Litig., 176 F.R.D. 158, 182 (E.D. Pa.
                1997) (“State statutes and court decisions differ as to what form
                the judgment credits should take. Certain states require a
                proportionate share reduction, others apply a pro tanto judgment
                credit and some states give a pro rata credit. Regardless of the
                applicable jurisdiction, under this agreement, non-settling
                defendants will receive, at a minimum, a set-off or judgment
                reduction consistent with state law. Allowing non-settling
                defendants the benefit of whatever judgment reduction that is
                required under state law is fair and reasonable.”). 16


         As Opponents’ argument mimics those objections that have been previously overruled, the

outcome should be the same here. Opponents’ objection should be overruled.

                                         CONCLUSION

         Despite their status as non-Released Parties, as well as their lack of standing, Opponents

nonetheless seek clarification of or, in the alternative to object to, the Tyco PWS Settlement. While

their response to Plaintiffs’ Preliminary Approval Motion purports to seek clarification, such

misdirection fails to conceal the true nature of their request: Opponents want to be considered a

Released Party, and absent grant of that desire, they object on grounds that have already been well-

tread and found lacking.

         For the foregoing reasons, Opponents’ Response in Opposition to Plaintiffs’ Motion is

without merit and should be overruled. Instead, Plaintiffs respectfully request that the Court grant

Preliminary Approval Motion of the Tyco PWS Class Settlement, for Certification of the Tyco



16
     In re Aqueous, 2024 WL 489326 at *18.


                                                 8
  2:18-mn-02873-RMG         Date Filed 05/17/24    Entry Number 5003     Page 12 of 13




PWS Settlement Class and for Permission to Disseminate Class Notice.

Dated: May 17, 2024                       Respectfully submitted,

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                                             9
   2:18-mn-02873-RMG           Date Filed 05/17/24      Entry Number 5003        Page 13 of 13



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed with
this Court’s CM/ECF on this 17th day of May, 2024 and was thus served electronically upon
counsel of record.



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                                                 10
